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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ALAN SEWARD,

                                    Plaintiffs,
                                                             20-cv-09251-KMK
   v.

DET. CAMILO R. ANTONINI, et al.,                             MOTION TO WITHDRAW

                                    Defendants.


        NOW COMES Plaintiff, ALAN SEWARD, by and through his attorneys, LOEVY &

LOEVY, and hereby seeks leave of the Court to withdraw attorney Tara Thompson as counsel for

Plaintiff Alan Seward. Pursuant to L.R. 1.4 and in support, Plaintiff states as follows:

        1.     Ms. Thompson has concluded her employment at Loevy & Loevy, the firm

representing Plaintiff, Alan Seward.

        2.     Plaintiff will continue to be represented by Karen Newirth of Loevy & Loevy.

        3.     No party will be prejudiced if Ms. Thompson is permitted to withdraw her

appearance inthis matter.

         WHEREFORE, Plaintiff respectfully requests the court enter an order permitting her to

 withdraw her appearance as counsel in this matter.

  Dated: April 8, 2021
                                                        Respectfully submitted,

                                                        s/ Karen Newirth
                                                        Attorney for Plaintiff

Karen Newirth
LOEVY & LOEVY
311 North Aberdeen Street
Chicago, IL 60607

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                                CERTIFICATE OF SERVICE

       I, Karen Newirth, an attorney, hereby certify that on April 8, 2021, I filed the foregoing

motion using the Court’s CM/ECF system, which effectuated service on all counsel of record.

                                                     /s/ Karen Newirth
                                                     Attorney for Plaintiff




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